Chapter 9270 expressly included salaries, as well as fees and commissions, as part of the compensation upon which the maximum income should be computed. Chapter 11954 omitted the word "salaries," and based the maximum yearly compensation solely on "fees and commissions" collected. I am inclined to think therefore that in arriving at the income allowable under the later Act, the salary paid to the clerk as Clerk of the Board of County Commissioners should not be included, but only the fees and commissions collected by him should be considered. The statute establishing a maximum income as Circuit Clerk is expressly based on income derived from fees and commissions. And I am not at all satisfied that the statute permitting the board to compensate the clerk for his services as Clerk of the Board is unconstitutional. In other respects, I concur.